EXHIBIT A

Case 1:09-cv-OOO49-TAV-WBC Document 1-1 Filed 02/27/09 Page 1 of 7 Page|D #: 4

 

i
STATE oF TENNESSEE F "q’ O@p`b
I)EPARTMENT 0F COMMERCE AND INSURANCE 55 j 3 _
500 JAMES ROBERTSON PARKWAY § 5003
f=»,

NASHVILLE, TN 37243-1131

February 05, 2009

 

 

 

Transamerica Life ins Cornpany CERT|FIED N|AIL
4333 Edgewood Rcl, Ne RETURN RECEIPT REQUESTED
Cedar Rapids, IA 52499 7008 1830 0000 6981 5721
NAIC # 86231 Cashier #1456
F-`;ECEt‘./£i)
LAW illii‘»"~i_t_i§ F_NT
Re: Laura Yarnel|, Trustee V, Transamerica l.ife ins Company V

Doci<et # 09-0040

 

 

To Whorn it Nlay Concern:

We are ehciosing herewith a document that has been served on this department on your behalf in connection with
the above-styled matter.

l hereby make oath that the attached Cornplaint was served on me on January 29, 2009 by Laura Yarnei|, Trustee
pursuant to Tenn. Cocte Ann. § 56-2-504 or § 56-2-506. A copy of this document is being sent to the Chancery
Court of Hamiiton Cot.lnty1 TN.

Brenda C. Meade
Designated Agent
Service of Process

Enciosures

cci Chancery Court C|erk
Hamiitcn County
201 East Seventh Streetl an 300
Chattanooga, Tn 37402

Service of Process 615.532.5260
Case 1:09-cv-OOO49-TAV-WBC Document 1-1 Filed 02/27/09 Page 2 of 7 Page|D #: 5

State of Tennessee

IN THE CHANCERY COURT OF HAMILTON COUNTY

I.AUR:\ YARNELL, Trustee under the
Trust ofS. C.»\MJF.RON YE\.RNEI..L for
;l;g ghi great Qf §. §,AME_R§)N YAB\JELL

seller NQ®B;QDq_Q__

VS.

TRANSA.?\IERIC:\ OCCIDENTAL LIFE
INSUKAN(`.E COMPANY

Dg}?m£anr
SUMMONS
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E[g R",!iAi§J 1` m l ,§; A, §§ 5§-2-§91 - §§-_2_-592
'I`O: ming-iga §)ggig;t§mai §.ife In§;};@ng'; §`Q;n;gang, §§§°> F,gjg;ggg;»gj Bg@d Nl' §ng Rgpid§ i.,\_ 52399

' ".t’ou are hereby summoned to answer end make defense to a bill of complaint which has been filed in the Cits.ncery
Ct)ur\ off-lnmiiton Ct)unty,'l`ennessee i.n the above styled case. Your defense to this complaint must be filed in the office ot`
tile Clerk and Muster of Hami]rou County, 'l`etittessee on or before thirty (30) days after service of this summons upon yml.
If you fail to do so, judgment by default mill be taken against yoli,fo the relief demanded in the Compl;lint.

   

A'l'l']:`.S']`ED "I`O and issued this g g day ot:,
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'iem'tessue

 

_-'\'ITORNE F()R PI_.AIN'i'Ii"F Mztrvin Berke BERKE. BERKE & BERKE
420 Frazier f\vemte. P. O. `Box 4747_ (anooe:t TN 374()5

PLAINTIFI"’S ADDRF.SS ltHC) Hi‘;sc)u Pike Chatmnooen TN 37405

Received this mm ,_~__ billy 0( ___,-,_.__-__-,_, 2009-

/S/

 

Deputy Sherift`

Case 1:09-cv-OOO49-TAV-WBC Document 1-1 Filed 02/27/09 Page 3 of 7 Page|D #: 6

 

SUMMONS RETURN

 

I received this summons on . I certify and return that on
(Dstc)

{Dstc)
[] served this summons and a complaint on defendant, - .
(Prinled Nsme of Dcfendunt)

 

in the following manner'.

 

 

i:l failed to serve this summons within thirty (30) days after its issuance becauset

 

 

 

Process Scrver blame {Printed) Process Servcr Sigrtature

 

Addr=ss

 

 

 

 

 

{Form 1 tt, rt=v 2002<01.151

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LAURA YARNELL, Trustee under the : No. QB'OOLlO
Trust of S. CAMERON YARNELL for

the children or s. cAMERoN YARNELL § iN cHANcERY count
vS. .-` HAM)LTON couNTY, TENNESSEE
j ,,_.._.-»
TRANsAMERicA occioENTAL LiFE : PAR'r ,l-L'~
iNsuRANcE coMPANY

COMPLAINT

Plaintiff sues the defendant and for her cause of action alleges the following facts,
to-wit:
|
S. Cameron Yarnei| was insured under a life insurance policy issued by the
defendant Transamerica Occidental l_ife insurance Company with the beneficiary being

the plaintiff The face amount ofsaid policy was One Niitlion ($1,000,000.00) Doi|ars. The
Po|icy No. was 42074562.

ll
The insured, S. Cameron Yarnell, died on October 3, 2007. The defendant wholly

and without cause refuses to pay the policy benefits to the plaintiff

 

 

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The defendant owes the plaintiff One lvliliion ($1,000,000.00) Doliars plus interest
from October 3, 2007.

WHEREFORE, the plaintiff sues the defendant for One N'liiiion ($1,000,000.00)
Dol|ars plus interest from October 3, 2007, and demands a jury to try the issues when

joined

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"\,§“.atl`tce't"v fit il i‘{nt'rr" tm:- (:.».,._ t tennessee

    

yarne|t|aura.s.cameronyame|l.comp|ainl

BERKE, BER E 81 BERKE

iia/win eeri<e see #1740
Attorneys for Plaintiff

420 FrazierAvenue

P. O. Box 4747

Chattanooga, Tennessee 37402
423/266-5171 - telephone
423/265-5307 - facsimile

 

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CLERK & MASTER
CHANCERY CouRT oF TENNESSEE
ELEVENTH .lui)iciAL I)lsrtucr oF HNNFssEE
CHATI'ANG()GA, TENNESSEE

   

 

AI)A: PUBLIC NOTICE
This notice is provided as required by Titie II of the AMERICANS WITH DISABILITIES ACT OF 1990,
42 U.S.C. 12l3 l, et seq., T.C.A. § 16»3-803, and Tennessee Supreme Court Rule 45.

 

The AMEtucANS wrm DisABIt-ITiEs Aci‘ (ADA) prohibits discrimination against any qualified
individual with a disability The 'I`ennessee Judicial Branch does not permit discrimination against
any individual on the basis of physical or mental disability in accessing its judicial programs In
accordance with the AI)A7 the Tennessee Judiciai Branch will provide reasonable modifications
if` necessary, in order for any qualified individual with a disability to access all of its programs1

services and activities

 

If` you require a modification to access the judicial program and/or have special needs because of
a qualified disability, you must submit a written ADA Request for Modif'lcation to the Local
Judicial Program ADA Coordinator listed below at least 5 business days prior to the date ot` the
judicial program1 it` possible A form is available from the Loca| Judicia| Program ADA
Coordinator or from the Tennessee Judicia| Program ADA Coordinator, l_t_ttp;//www.tsc.Me.tn.us

 

lt` you need assistance have questions or need additional information please contact either:

 

Julie Taylor
Hami|ton County Judicial Prograrn State Judicial Program ADA Coordinator
ADA Coordinator b“Wtitdministrativ<: Office of the Courts
’““ “ tii§"'U`édr'§i"éi"}'§v€'r'i'ii'€","li”i‘)`d`in""$65""`“"‘“"'“"`“" Nashville City Center, Ste 600
'Chattanooga, TN 37402 511 Union St,
(423) 209-6700 Nashville, TN 37243
1-800»448-7970

 

 

The Tennessee Judicial Branch Americans with I)isabilities Act Policy Regarding Access to
J udicial l’rograms, as well as Reque¢t for Modif'ication form may be found oniinc at;
wwwétsc.state_tn.us

 

 

 

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